                             WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION


                                JUDGMENT IN A CIVIL CASE

                              UNITED STATES DISTRICT COURT

 RONALD BERNARD,                                      )
                                                      )
                                                      )
             vs.                                      )    Case No. 2:19-CV-4043-NKL
                                                      )
 KANSAS CITY LIFE INSURANCE CO.,                      )
                                                      )

        Jury Verdict. This action came before the Court for a trial by jury. The issues have been
        tried and the jury has rendered its verdict.

 X      Decision by Court. This action came to determination before the Court. The issues have
        been determined and a decision has been rendered.

        It is ORDERED AND ADJUDGED

       Plaintiff's unopposed motion for attorney's fees totaling $31,340.05 as well as costs totaling
$1,300 (Doc. [37]) is GRANTED.


 July 15, 2021                                        PAIGE WYMORE-WYNN
 Date                                                 Clerk of Court


 Entered on: July 14, 2021                            s/ TANIA LOCK
                                                      By: Tania Lock, Courtroom Deputy




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